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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                           Case No. 2:19-CR-00321-GW
     UNITED STATES OF AMERICA,
13                                           ORDER OF DETENTION
                     Plaintiff,
14                                           [Fed. R. Crim. P. 32.1(a)(6);
                     v.                      18 U.S.C. § 3143(a)(1)]
15
     DYNTANYON ROBINSON,
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17                   Defendant.
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           On September 24, 2021, Defendant Dyntanyon Robinson made his
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     initial appearance on the petition for revocation of supervised release and
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     warrant for arrest issued on August 17, 2021. Andrew Cowen of the Indigent
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     Defense Panel was appointed to represent Defendant. Defendant submitted
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     on the detention recommendation in the Pretrial Services Report.
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           Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18
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     U.S.C. § 3143(a), following Defendant’s arrest for alleged violation(s) of the
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     terms of Defendant’s ☐ probation / ☒ supervised release,
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      Case 2:19-cr-00321-GW Document 154 Filed 09/24/21 Page 2 of 2 Page ID #:747



 1         The Court finds that:

 2         A.      ☒     Defendant has not carried his burden of establishing by

 3   clear and convincing evidence that Defendant will appear for further

 4   proceedings as required if released [18 U.S.C. § 3142(b-c)]. This finding is

 5   based on:

 6              ☒ allegations in the petition include failure to participate in, and

 7              termination from, residential substance abuse treatment program.

 8         B.      ☐     Defendant has not carried his burden of establishing by

 9         clear and convincing evidence that Defendant will not endanger the

10         safety of any other person or the community if released [18 U.S.C.

11         § 3142(b-c)]. This finding is based on:

12              ☒ allegations in the petition, including violations of the rules and

13              regulations of the substance abuse program.

14         It is therefore ORDERED that the defendant is remanded to the

15   custody of the U.S. Marshal pending further proceedings in this matter.

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17    Dated: September 24, 2021
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                                        PATRICIA DONAHUE
19                                   _______________________________
                                     PATRICIA DONAHUE
20                                   UNITED STATES MAGISTRATE JUDGE
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